                                          Case 3:23-cv-01710-AMO Document 16 Filed 04/11/23 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FEDERAL TRADE COMMISSION,                          Case No. 23-cv-01710-AMO
                                                        Plaintiff,
                                   8
                                                                                            NOTICE RE: UNAVAILABILITY AND
                                                 v.                                         GENERAL DUTY JUDGE
                                   9

                                  10     INTERCONTINENTAL EXCHANGE,
                                         INC., et al.,
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The Federal Trade Commission (FTC) filed this action for a temporary restraining order

                                  14   and preliminary injunction on April 10, 2023. The case is assigned to the Hon. Araceli Martinez-

                                  15   Olguin. The Complaint represents Plaintiff and Defendants have agreed to a stipulated temporary

                                  16   restraining order pending preliminary injunction proceedings (Dkt. No. 1 at ¶¶ 1, 18), although the

                                  17   stipulation has not yet been filed. The parties are advised Judge Martinez-Olguin is unavailable

                                  18   through April 14, 2023. The undersigned is the General Duty Judge through April 11, 2023, and

                                  19   Chief Judge Richard Seeborg is the General Duty Judge April, 12, 13, 14, 2023. If the parties

                                  20   require action on a stipulated temporary restraining order prior to April 17, 2023, they should file

                                  21   it with the appropriate General Duty Judge.

                                  22          IT IS SO ORDERED.

                                  23   Dated: April 11, 2023

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                                                                                                    JACQUELINE SCOTT CORLEY
                                  25                                                                United States District Judge
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